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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

CUSTOM TRUCK ONE SOURCE, INC.,
formerly known as Nesco Holding, Inc., as
successor to Truck Utilities, Inc.

               Plaintiff,

v.                                                       No. CV 21-545 DHU/CG

BIGHORN CONSTRUCTION AND
RECLAMATION, LLC, also known as
BCR Companies,

               Defendant.

                ORDER SETTING ZOOM SETTLEMENT CONFERENCE

        To facilitate a final disposition of this case, a mandatory settlement conference

will be conducted in accordance with Federal Rule of Civil Procedure 16(a)(5). Pursuant

to the parties’ request, the Court will hold the upcoming settlement conference via

Zoom.

        The conference will be held on May 19, 2022, at 9:00 a.m. A telephonic status

conference will be held on May 10, 2022, at 10:00 a.m., to discuss the parties’

positions, as set forth in the Court’s Order Setting Telephonic Pre-Settlement Status

Conference, (Doc. 29).

        IT IS HEREBY ORDERED that the parties and a designated representative,

other than counsel of record, with full authority to resolve the case, must attend via

Zoom; counsel who will try the case must also attend via Zoom. All attorneys and

parties involved in the settlement conference must treat as confidential the information

discussed, positions taken, and offers made by other participants in preparation for and
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during the conference.1 Each individually named Defendant is not required to attend the

settlement conference. However, Defendant must have an individual with full authority

to resolve the case present during the settlement conference.

       IT IS FURTHER ORDERED that:

       1. By April 19, 2022, Plaintiff’s counsel shall serve on Defendant’s counsel a
          concise letter that sets forth a settlement demand itemizing the principal
          supporting damages or other relief that Plaintiff assert would appropriately be
          granted at trial.

       2. By April 26, 2022, Defendant’s counsel shall serve on Plaintiff’s counsel a
          concise letter that sets forth a response to the settlement demand.

       3. By May 3, 2022, each party shall provide to the Court:

              a. A copy of each letter that was sent to an opposing party;

              b. A confidential, concise letter containing an analysis of the strengths
                 and weaknesses of its case; and

              c. Any video or audio recordings of the incident upon which this action is
                 based.

              d. This letter should also contain the email addresses and phone
                 numbers for all participants in the settlement conference. This
                 contact information will be used to send the invitation to attend
                 the settlement conference via Zoom.

           These materials may be submitted to the Court by email:
           garzaschambers@nmd.uscourts.gov

       4. Each of these letters typically should be five (5) pages or fewer, and counsel
          will ensure that each party reads the opposing party’s letter before the
          settlement conference.

       5. Before May 10, 2022, counsel shall confer with one another about their
          clients’ respective positions.

       6. On May 10, 2022, at 10:00 a.m., counsel shall call Judge Garza’s AT&T line
          at (877) 810-9415, follow the prompts, and enter access code 7467959, for a

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 This does not prohibit disclosures stipulated to by the parties, necessary in proceedings to
determine the existence of a binding settlement agreement, or as otherwise required by law.


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          pre-settlement telephonic status conference

      A party must show good cause to vacate or reschedule the settlement

conference. Any such request must provide the Court with sufficient notice to ensure

that other matters may be scheduled in the time allotted for the settlement conference.

      IT IS SO ORDERED.



                                  THE HONORABLE CARMEN E. GARZA
                                  CHIEF UNITED STATES MAGISTRATE JUDGE




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